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                                               Court-Appointed Temporary Receiver for Link Motion Inc. Pursuant
                                               to The Honorable Judge Victor Marrero of the United States District
Robert W. Seiden                               Court, Southern District of New York


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VIAECF

Hon. Valerie Figueredo
United States Courthouse
500 Pearl Street
New York, New York 10007

April 20, 2023
       Re:       Baliga v. Link Motion Inc. et al., 1:18-cv-11642 (S.D.N.Y.)

Dear Judge Figueredo,

I write in response to the Court's April 10, 2023 Order (ECF 404) directing the Receiver to provide
an update regarding Mr. Lilin "Francis" Guo ("Guo"), the Receiver's agent in the People's Republic
of China ("PRC"), including whether Guo has "re-appeared," any new information as to Guo's
whereabouts, and whether the Receiver still believes that Guo's safety may be in jeopardy.

On or about April 8, 2023, the Receiver unexpectedly received infmmation from an associate of Mr.
Guo's indicating that Mr. Guo had re-appeared. On April 14, 2023, my office spoke directly with
Mr. Guo. Mr. Guo informed us that he is currently in the PRC.

My office does not !mow the precise circumstances that led to Mr. Guo' s disappearance, which began
abruptly with no warning in or about April 2022 and continued until April 2023. Under the
circumstances, my office remains concerned about Guo's safety, although we currently have no
specific infmmation indicating that his safety is or is not in jeopardy.




                                                       Robert W. Seiden, Esq.
                                                       Court-Appointed Temporaty Receiver for
                                                       Link Motion Inc.
